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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

RUSS IVY                                                CIVIL ACTION

VERSUS                                                  NO. 20-1475

JADE TRAN, ET AL.                                       SECTION “B”(4)

                           ORDER AND REASONS

      Considering defendants’ opposed motions for leave to file

motion in limine and to exclude any evidence other than the

testimony of the parties, etc.,

     IT IS ORDERED that the motion for leave to file motion in

limine (Rec. Doc. 70) is GRANTED. The motion in limine attached to

the motion (Rec. Doc. 70-4) is hereby FILED into the record in the

above-captioned matter.

     IT IS FURTHER ORDERED that defendant’s motion in limine to

exclude any evidence other than the testimony of the parties (Rec.

Doc. 70-4) is GRANTED. Producing discovery materials does not

satisfy the Rule 16 directive to thereafter file and exchange a

list of exhibits and witnesses that would be used at trial.

Moreover, news articles and third-party social media postings

constitute inadmissible hearsay evidence. Further, any evidence

and/or reference to settlement discussions, via video or other

formats, are also inadmissible. Any assumed probative value of the

foregoing materials do not outweigh the prejudicial nature and

impact of same upon the trier of fact, i.e. the jury. Lastly, there
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is no good cause to allow either party to call non-party witnesses

in this 2020 filed action who were not listed as witnesses in

accordance with the Rule 16 Order. Therefore, the underlying motion

in limine is granted in the foregoing respects.

     New Orleans, Louisiana this 25th day of February, 2022




                                  ___________________________________
                                  SENIOR UNITED STATES DISTRICT JUDGE
